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             EXHIBIT E
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            Deposition of Christopher Hull

O'Donnell/Salvatory, Inc. v. Microsoft Corporation

                      December 29, 2021




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                                                                               Page 1
                               UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
                             AT SEATTLE
    _______________________________________________________

    O'DONNELL/SALVATORI, INC., an  )
    Illinois corporation,          )
                                   )
                                   )
            Plaintiff/Counterclaim )                       No. 2:20-cv-00882-MLP
            Defendant,             )
                                   )
    v.                             )
                                   )
    MICROSOFT CORPORATION, a       )
    Washington corporation,        )
                                   )
            Defendant/Counterclaim )
            Plaintiff.             )
                                   )

    _______________________________________________________

       REMOTE VIDEOCONFERENCE DEPOSITION UPON ORAL EXAMINATION

                                                      OF

                         CHRISTOPHER HULL
    _______________________________________________________

                                            7:33 A.M.

                                       December 29, 2021

              (All participants appeared via videoconference.)




    REPORTED BY:            Laura Gjuka, CCR #2057

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1                                       REMOTE APPEARANCES

2
        FOR THE PLAINTIFF (via videoconference):
3
                     MARK LAWRENCE LORBIECKI
4                    WILLIAMS, KASTNER & GIBBS PLLC
                     601 Union Street, Suite 4100
5                    Seattle, WA 98101-2380
                     mlorbiecki@williamskastner.com
6
7       FOR THE DEFENDANT (via videoconference):

8
                     PETER J. ANDERSON
9                    DAVIS WRIGHT TREMAINE LLP
                     865 South Figueroa Street, Suite 2400
10                   Los Angeles, CA 90015
                     peteranderson@dwt.com
11
12
13
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                                                                                  Page 5
 1      CHRISTOPHER HULL,                           witness herein, having been

 2                                                  duly sworn by the Certified

 3                                                  Court Reporter, testified

 4                                                  under oath as follows:

 5
 6                                             EXAMINATION

 7      BY MR. LORBIECKI:

 8           Q.     Good morning, Mr. Hull.                How are you?

 9           A.     Very well.

10           Q.     Good.

11           A.     How are you doing, Mr. Lorbiecki?

12           Q.     Doing alright.              You're aware that the purpose of

13      today's session is to depose you in the case of

14      O'Donnell/Salvatori Music versus Microsoft, correct?

15           A.     Yes.

16           Q.     Okay.        Have you ever been deposed before?

17           A.     I have not.

18           Q.     Have you ever testified in court before?

19           A.     Yes, I have.

20           Q.     Now, you're aware that the oath that you were

21      just given has equal gravity to that if we were all

22      appearing in court; is that fair?

23           A.     Yes.

24           Q.     Now, in your deposition I'm going to be asking

25      you questions.              You'll be answering them under oath.


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                                                                                  Page 49
1       the ICA?

2                                 MR. ANDERSON:            Objection, vague and

3       ambiguous, argumentative.

4            Q.     (BY MR. LORBIECKI)                Let's do it this way:       What

5       was sold in Exhibit 2?

6                                 MR. ANDERSON:            Object to the extent it

7       calls for a legal conclusion, and the question is vague

8       and ambiguous.

9            Q.     (BY MR. LORBIECKI)                You may answer, Mr. Hull.

10           A.     I'm looking at Exhibit 2 right now.                  Ownership

11      of the work was assigned to Microsoft.

12           Q.     Okay.       If your statement in Exhibit 1 that ODS

13      would not be entitled to royalties, how is it that ODS

14      could sell any rights?

15                                MR. ANDERSON:            Objection, argumentative.

16           A.     The writer's shares of royalties would be

17      payable to the songwriters.                       ODS is a corporate entity,

18      and it's not the songwriters.

19           Q.     If the work was composed by songwriters employed

20      by ODS in a work-for-hire situation, would it not in

21      fact be ODS who was the author of the song?

22                                MR. ANDERSON:            Objection, an incomplete

23      hypothetical, calls for a legal conclusion, and is vague

24      and ambiguous because now you're referring to authors,

25      not writers.


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